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CHAPTER 1I3 PLAN (Individual Adjustment of Debts)

LC] Original Plan
[mi] First Amended Plan (Indicate Ist, 2nd, etc. Amended, if applicable)
CL] Modified Plan (Indicate ist, 2nd, etc. Modified, if applicable)
DEBTOR: Beatriz Cuenca JOINT DEBTOR: CASE NO.: 23-17462-CLC
SS#: xxx-xx- 4010 SS#: XXXx-XXx-
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and

modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
on each line listed below in this section to state whether the plan includes any of the following:

The valuation of a secured claim, set out in Section II, which may result in a

partial payment or no payment at all to the secured creditor

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
out in Section Ill

Nonstandard provisions, set out in Section [IX [] Included {m] Not included
Il. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

[_] Included {m] Not included

[_] Included [m) Not included

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

lL. $159.00 formonths | to 36 ;
B. DEBTOR(S)' ATTORNEY'S FEE: [] NONE [_] PRO BONO
Total Fees: $4,650.00 Total Paid: $1,100.00 Balance Due: $3,550.00
Payable $142.00 ‘month (Months | to 25 )

Allowed fees under LR 2016-I(B)(2) are itemized below:
$4,500.00 Safe harbor, $150.00 Cost

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
Il. TREATMENT OF SECURED CLAIMS [_] NONE

A. SECURED CLAIMS: [mg] NONE

B. VALUATION OF COLLATERAL: [i] NONE

C. LIEN AVOIDANCE [i] NONE
D
E

. SURRENDER OF COLLATERAL: [|] NONE
. DIRECT PAYMENTS [] NONE

Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution from the Chapter 13 Trustee.
The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.

Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle. etc.)

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Debtor(s): Beatriz Cuenca Case number: 23-17462-CLC
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address. Vehicle, etc.)
Kendalltown Homeoweners 1740 7800 SW 103rd P] Miami, FL 33173 Miami-Dade County
* Assoc
5 REGIONS BANK 3644 7800 SW 103rd PI Miami, FL 33173 Miami-Dade County

Iv. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]_ [lj] NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS [] NONE
A. Pay $1.10 /month(Months 1 to 25 )

Pay $143.10 /month (Months 26 to 36 )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date,
B. [[] If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: [i] NONE
Vi STUDENT LOAN PROGRAM [mi] NONE
VIL. EXECUTORY CONTRACTS AND UNEXPIRED LEASES [li] NONE
VII = INCOME TAX RETURNS AND REFUNDS:

[™] The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 52!(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

IX. NON-STANDARD PLAN PROVISIONS [i] NONE

PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION,

1 declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Debtor Joint Debtor
Beatriz Cuenca Date Date

/s/ Mary Reyes, Esq. December 1, 2023
Date

Attorney with permission to sign on
Debtor(s)’ behalf who certifies that
the contents of the plan have been

reviewed and approved by the

Debtor(s). I

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph IX.

' This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Debtor(s)’ behalf.

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